      Case 6:23-cv-00013 Document 18 Filed on 03/27/23 in TXSD Page 1 of 1



UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Victoria                             Case Number              6:23-cv-00013

                                           State of Texas, et al.


                                                    versus
                    Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.



           Lawyer’s Name                  Jody D. Lowenstein
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       Federal Bar & Number


 Name of party applicant seeks to                                   All Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       3/25/2023         Signed:                        /s/ Jody D. Lowenstein



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
